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                        IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

JANE DOE,                                 :       CASE NO.: 2:20-cv-00459
                                          :
               Plaintiff,                 :       JUDGE GRAHAM
                                          :
vs.                                       :       MAGISTRATE JUDGE LITKOVITZ
                                          :
ANDREW K. MITCHELL, et al.,               :
                                          :
               Defendants.                :

          PROPOSED ORDER TO AMEND THE CASE SCHEDULING ORDER

       This matter came before the Court upon the agreement of the parties to Amend the Case

Scheduling Order. Upon review, the Court finds the Motion is well-taken and hereby GRANTS same.

       It is therefore, ORDERED, ADJUDGED, AND DECREED the Case Scheduling Order is

amended as follows:

       Discovery Cut-Off                                 March 16, 2022

       Dispositive Motions                               April 18, 2022

       Plaintiff’s Settlement Demand                     June 21, 2022

       Defendants’ Settlement Demand Response            July 21, 2022

       Settlement Conference Request                     September 2022

       Final Pretrial                                    _____________

       Trial                                             _____________
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            IT IS SO ORDERED.


                                         __________________  ______
                                         MAGISTRATE JUDGE LITKOVITZ


Submitted by:
       05




 Attorney for Plaintiff(s):                   Attorney for Defendant(s):

 /s/ David A. Goldstein, per authority        /s/ Scott C. Walker, per authority
 Counsel for                                  Counsel for Defendant Andrew K. Mitchell
 Plaintiff                                    Bar # 0063631
 Bar #
 0064461

 /s/ Sara M. Valentine                        /s/ Janet R. Arbogast, per authority
 Counsel for                                  Counsel for Defendant City of Columbus
 Plaintiff                                    Bar # 0061955
 Bar
 #0098685




Date:
06/29/2021
       05
 Case: 2:20-cv-00459-JLG-KLL Doc #: 40 Filed: 06/29/21 Page: 3 of 3 PAGEID #: 159




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document has been sent via Electronic Mail this

29th day of June 2021 to Scott C. Walker, Esq., Attorney for Defendant Andrew K. Mitchell, at

Walker Novack Legal Group, LLC, 5013 Pine Creek Drive, Westerville, Ohio 43081,

tom@walkernovack.com, Thomas J. Novack, Esq., Attorney for Defendant Andrew K. Mitchell,

at Walker Novack Legal Group, LLC, 5013 Pine Creek Drive, Westerville, Ohio 43081,

scott@walkernovack.com, Janet R. Hill Arbogast, Esq., Attorney for Defendant City of

Columbus, at City of Columbus, Department of Law, 77 North Front Street, 4th Floor, Columbus,

Ohio 43215, jrhillarbogast@columbus.gov, and, Joseph M. Gibson, Esq., Attorney for Defendant

City of Columbus, at City of Columbus, Department of Law, 77 North Front Street, 4th Floor,

Columbus, Ohio 43215, jmgibson@columbus.gov.



                                             /s/ Sara M. Valentine______
                                             Sara M. Valentine (0098685)
